Case 2:03-cV-02958-SHI\/|-tmp Document 48 Filed 06/06/05 Page 1 of 3 Page|D 68

 

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Piaintiff, §,~J_O§§ ; g
‘55.-!<3 co z»
v. No. 03-2958 ivia/P

COCA-COLA BOTTL|NG COMPANY OF N|EN|PHIS,

Defendant.

CONSENT ORDER OF DiSMlSS/-\L W|TH PREJUD|CE

ln this cause, it appearing from the statements of counsel for the respective

parties that the matters and things in controversy have been compromised and settied,

and that this cause may be dismissed with prejudice

iT iS, THEREFORE, CONS|DERED AND ORDERED BY THE COURT, by and
with the consent of the parties, that this cause be, and the same is hereby, dismissed,

With prejudice, and the clerk's statutory costs of the cause are adjudged against the
defendant, for Which execution may issue if necessary ///mq_/`

JUDGE

DATE:

 

APPR

yED:
Webb Brewer
Attorney for Piaintift

109 North Main St., Suite 200
Niemphis, TN 38103

This document entered on the docket she n c pil ce
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with Huie 58 and/or 79 (a) FRCP on ‘

Case 2:03-cV-02958-SHI\/|-tmp Document 48 Filed 06/06/05 Page 2 of 3 Page|D 69

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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Honorable Samuel Mays
US DISTRICT COURT

